            Case 25-11729-amc                        Doc 6            Filed 05/02/25 Entered 05/02/25 11:59:48                             Desc Main
                                                                      Document      Page 1 of 1
                                                             United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Erie Kash Out Properties LLC                                                                             Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Kerryn Richardson                                                   Membership                                                 Sole Member
 255 West Fisher Ave                                                 Interest
 Philadelphia, PA 19120


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Sole Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       May 2, 2025                                                       Signature /s/ Kerryn Richardson
                                                                                           Kerryn Richardson

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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